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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

Patent Rightsholder Identified in Exhibit 1,                   )
                                                               )
                                                               )
                                                 Plaintiff,    )
                                                               ) Case No.
v.                                                             )
                                                               )
The Individuals, Partnerships, and                             )
Unincorporated Associations Identified on                      )
Schedule A,                                                    )
                                                               )
                                                 Defendants.   )

                                            Exhibit 1

                                               (sealed)




                                                  1
